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                       IN THE UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF ILLINOIS
                              EAST ST. LOUIS DIVISION

JOSEPH BEARDSLEY,
Individually and as Special
Representative of the               )
ESTATE OF REBECCA BEARDSLEY,       )
And                                 )
MICHELE KIPNIS,                     )
                                    )
           Plaintiffs,              ) Civil Action
                                    )
v.                                  ) NO. 3:20-cv-1159
                                    )
ABBVIE, INC. and                    )
APOLLO ENDOSURGERY US, INC., )
                                    )
                                    )
           Defendants.              )
______     ________________________

                                    NOTICE OF REMOVAL

         Pursuant to 28 U.S.C. § 1441 and § 1446, Defendants AbbVie, Inc. and Apollo

Endosurgery US, Inc. ("Defendants") hereby remove this case from the Circuit Court for the

Third Judicial Circuit for Madison County, State of Illinois, to the United States District Court

for the Southern District of Illinois, East St. Louis Division. In support of this Notice of

Removal, Defendants aver as follows:

I.       BACKGROUND

         1.     Plaintiffs Joseph Beardsley, individually and as Special Representative of the

Estate of Rebecca Beardsley, and Michele Kipnis ("Plaintiffs") commenced this personal

injury/wrongful death/product liability action by filing a Complaint on October 1, 2020 in the

Circuit Court for the Third Judicial Circuit in Madison County, State of Illinois, entitled Joseph

Beardsley, individually and as Special Representative of the Estate of Rebecca Beardsley, and



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Michele Kipnis v. AbbVie, Inc. and Apollo Endosurgery US, Inc., Cause No. 2020L 001397. A

copy of the Complaint is attached hereto as Exhibit A.

       2.      Plaintiffs allege that Decedent Rebecca Beardsley was implanted with a device

called the LAP-BAND® at the Balboa Naval Medical Center in San Diego, California on or

about April 1, 2011, and that the LAP-BAND® had to be surgically removed from Ms. Beardsley

at Loma Linda University Medical Center in San Diego, California on or about December 27,

2018. Plaintiffs further allege that the LAP-BAND® catheter had wrapped around Ms.

Beardsley’s small intestines causing a bowel obstruction necessitating emergency removal of the

LAP-BAND® and port. Plaintiffs further allege that the LAP-BAND® had eroded into Ms.

Beardsley’s stomach, causing sepsis, stomach perforation, and necrosis. According to the

Complaint, Ms. Beardsley died of her injuries on December 28, 2018. See Exhibit A, Complaint,

¶ 1.

       3.      Plaintiffs allege that Ms. Kipnis was implanted with a LAP-BAND® device at

Scripps Memorial Hospital in La Jolla, California on or about October 8, 2012, and that the

LAP-BAND® was removed from Ms. Kipnis at Scripps Memorial Hospital in La Jolla,

California on or about September 5, 2018. Plaintiffs further allege that the LAP-BAND® had

eroded into Ms. Kipnis’ stomach, causing inflammation of her liver and stomach. See Exhibit A,

Complaint at ¶ 3.

       4.       Plaintiffs allege that the LAP-BAND® was defective and assert causes of action

against Defendant sounding in, inter alia, negligence, products liability, negligent

misrepresentation, breach of warranty, fraud, and loss of consortium. See Exhibit A, Complaint,

¶¶ 84-318.


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         5.       This Court has original jurisdiction over the subject matter of this action under 28

U.S.C. § 1332, and this action is removable pursuant to 28 U.S.C.§ 1441, in that, excluding

fraudulently joined Defendant AbbVie, Inc. (“AbbVie”), it is a civil action between citizens of

different states and the amount in controversy exceeds $75,000. The presence of an in-state

defendant is not a bar to removal because AbbVie is fraudulently joined.

         6.       Pursuant to 28 U.S.C.§ 1446(a), copies of all process, pleadings, orders, and other

papers or exhibits filed in state court are attached as Exhibit B.

II.      THIS COURT HAS SUBJECT MATTER JURISDICTION UNDER 28 U.S.C. §
         1332(a)(1)

         7.       Section 1332(a)(1) provides: “The district courts shall have original jurisdiction of

all civil actions where the matter in controversy exceeds the sum or value of $75,000, exclusive

of interest and costs, and is between … citizens of different States.” 28 U.S.C. § 1332(a)(1). For

the reasons set forth below, all of the jurisdictional requirements for diversity jurisdiction are

satisfied in this case.

         A.       The Relevant Parties Are Completely Diverse

         8.       Cases fall within a federal court’s diversity jurisdiction only if “diversity of citizenship

among the parties is complete, i.e., only if there is no plaintiff and no defendant who are citizens of the

same State.” Wisconsin Dep’t of Corr. v. Schacht, 524 U.S. 381, 388 (1998).

         9.       Both Plaintiff Joseph Beardsley, in his individual capacity, and Plaintiff Michele

Kipnis are citizens of California.1 In addition, Decedent Rebecca Beardsley was a citizen of


1
 The Complaint alleges that Plaintiffs Joseph Beardsley and Michele Kipnis are residents of California, see Exhibit A,
Complaint at ¶¶ 1, 3. In addition, the Complaint also alleges that Mr. Beardsley was at all relevant times lawfully
married to Decedent Rebecca Beardsley. Id. at ¶ 1. The Complaint alleges that Ms. Beardsley’s implantation
procedure took place in California in April 2011 and that the removal of her device also took place in California
more than seven years later in December 2018. Id. Similarly, the Complaint alleges not only that Plaintiff Michele
Kipnis is a resident of California, see Exhibit A, Complaint at ¶ 3, but that both her implantation and explanation
procedures took place in California, separated by nearly six years. Id. It is thus clear that both Plaintiffs are not only
“residents” of California, but also citizens of that state. See Dakuras v. Edwards, 312 F.3d 256, 258 (7th Cir.2009)

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California, so that Plaintiff Joseph Beardsley in his capacity as Special Representative of the Ms.

Beardsley’s Estate is likewise a citizen of California. 28 USCA § 1332(c)(2) (“the legal

representative of the estate of a decedent shall be deemed to be a citizen only of the same State

as the decedent”); Northern Trust Co. v. Bunge Corp., 899 F.2d 591, 594 (7th Cir.1990); Trevino

v. U-Haul Co. of Illinois, Inc., 2008 WL 4951321, at *2 (N.D. Ill. Nov. 18, 2008).

        10.      Defendant Apollo Endosurgery US, Inc. (“Apollo”) is incorporated under the laws

of the state of Delaware with its principal place of business in Texas. See Exhibit A, Complaint

at ¶ 7. Therefore, Apollo is a citizen of the states of Delaware and Texas for purposes of

diversity jurisdiction. 28 U.S.C. § 1332(c)(1).

        B.       AbbVie Is Fraudulently Joined

        11.      Under the fraudulent joinder doctrine, a defendant’s right of removal based on

diversity jurisdiction cannot be defeated by joinder of a nondiverse defendant against whom the

plaintiff’s claim has “no chance of success.” Poulos v. Naas Foods, Inc., 959 F.2d 69, 73 (7th

Cir. 1992).

        12.      Here, Plaintiffs do not allege that AbbVie ever manufactured, sold, distributed, or

had any other connection with the LAP-BAND® device. A Declaration submitted by AbbVie’s

Division Counsel, Governance, Emily Weith, states unequivocally that at no time did AbbVie

ever manufacture, sell, distribute, or have any other connection with the LAP-BAND® product.

See Ex. C, Weith Declaration at ¶ 4. It is well-established that courts may consider affidavits or

declarations when evaluating fraudulent joinder. See Faucett v. Ingersoll–Rand Mining & Mach.

Co., 960 F.2d 653, 655 (7th Cir. 1992); Bahalim v. Ferring Pharmaceuticals, Inc., 2017 WL




(citizenship shown by “a permanent home and principal establishment, and to which he has the intention of
returning whenever he is absent therefrom”).

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118418, at *4 (N.D. Ill. Jan. 12, 2017); Ballard v. Wilderness Resort Hotel & Golf Resort, 2014

WL 3811003, at *2 n.4 (N.D. Ill. Aug. 1, 2014) (same); Sargent v. Cassens Corp., 2007 WL

1673289, at *2 (S.D. Ill. June 7, 2007) (same).

       13.     Specifically, the Weith Declaration states that AbbVie did not manufacture, sell,

distribute, or have any other connection with the LAP-BAND® device at any time prior to the

alleged implantation of the device into either Ms. Beardsley or Ms. Kipnis, at any time prior to

the alleged removal of the device from either Ms. Beardsley or Ms. Kipnis, or at any time in

between. See Ex. C, Weith Declaration at ¶ 5. The Declaration further states that AbbVie never

manufactured, sold, distributed, or had any other connection with the LAP-BAND® device at any

time after the alleged removal of the device from either Ms. Beardsley or Ms. Kipnis. Id.

       14.     Plaintiffs do allege that the LAP-BAND® device was manufactured and sold by a

company called Allergan USA, Inc. between 2006 and 2013. See Exhibit A, Complaint at ¶ 6.

However, the Weith Declaration states that AbbVie had no corporate relationship, or other

relationship, with Allergan USA, Inc. or any other Allergan entity at any time during which

Plaintiffs allege that Allergan USA, Inc. manufactured or sold the LAP-BAND® device. See Ex.

C, Weith Declaration at ¶ 7.

       15.     Plaintiffs also allege that in 2013, Allergan USA, Inc. sold its rights to the LAP-

BAND® System to Apollo. See Exhibit A, Complaint at ¶ 6. The Weith Declaration states that

AbbVie has had no corporate relationship, or other relationship, with Apollo at any time that

Apollo has allegedly manufactured or sold the LAP-BAND® device. See Ex. C, Weith

Declaration at ¶ 9.




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       16.     Although Plaintiffs allege that AbbVie is the successor to Allergan USA, Inc., see

Exhibit A, Complaint at ¶ 5, this is incorrect. See Ex. C, Weith Declaration at ¶ 10. On the

contrary, Allergan USA, Inc. still exists, and therefore does not have a corporate successor. Id. at

¶ 11. On or about May 8, 2020, AbbVie did acquire Allergan plc, the ultimate indirect parent of

Allergan USA, Inc. Id. However, at the time that AbbVie acquired Allergan plc, AbbVie did

not acquire any rights with respect to the LAP-BAND® System. Id. at ¶ 12. Indeed, according

to Plaintiffs’ own allegations, any such rights were sold to Apollo in 2013. See Exhibit A,

Complaint at page ¶ 6.

       17.     Both this Court and the District Court for the Northern District of Illinois have

held that where a defendant did not manufacture, sell, or distribute a product, the plaintiffs

cannot maintain their cause of action against the defendant, and therefore, the defendant “has

been fraudulently joined.” Sargent v. Cassens Corp., 2007 WL 1673289, at *2-3 (S.D. Ill. June

7, 2007); see also Bahalim, 2017 WL 118418, at *4-5 (in light of the “unrefuted declaration” that

the defendant “did not manufacture, promote, distribute, or sell” the product, plaintiffs’ products

liability and negligence claims had “no chance of success”).

       18.     This is consistent with the law of California. See Bockrath v. Aldrich Chemical

Co., 980 P.2d 398, 404 (Cal. 1999) (plaintiff must allege that the named defendant

“manufactured or supplied” the allegedly injurious product).

       C.      The Forum Defendant Rule Does Not Prevent Removal

       19.     In addition to demonstrating diversity of citizenship, a defendant removing a case

on the basis of Section 1332(a) ordinarily must show that none of the “properly joined and

served” defendants “is a citizen of the State in which such action is brought.” 28 U.S.C. §




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1441(b)(2). This is called the “forum defendant rule.” Hurley v. Motor Coach Industries, Inc.,

222 F.3d 377, 378 (7th Cir. 2000).

          20.   Recognizing the need to protect the right of removal against abusive pleading

practices, federal courts have applied the fraudulent joinder doctrine to ignore the joinder of in-

state defendants against whom plaintiffs have no chance of success. See Couzens v. Donohue,

854 F.3d 508, 513 (8th Cir. 2017); De La Flor v. Ritz-Carlton Hotel Co., L.L.C., 930 F. Supp. 2d

1325, 1328 (S.D. Fla. 2013); Yellen v. Teledne Continental Motors, Inc., 832 F.Supp.2d 490, 501-

03 (E.D. Pa.2011); Bahalim, 2017 WL 118418, at *4-5; Sargent v. Cassens Corp., 2007 WL

1673289, at *3-4 (S.D. Ill. June 7, 2007). See also Newby v. Wyeth, Inc., 2011 WL 5024572, at

*2 (E.D. Mo. Oct. 21, 2011) (“When, as here, the basis for removing a case is diversity

jurisdiction and the face of the complaint lacks complete diversity, in that the plaintiff has joined

a non-diverse party or a resident of the forum state as a defendant, the removing party may

avoid remand only by demonstrating that the… party was fraudulently joined.”) (emphasis

added).

          21.   In Couzens, for instance, the Eighth Circuit held that “because the [in-state]

defendants were fraudulently joined, the forum-defendant rule, 28 U.S.C. § 1441(b)(2), did not

prohibit removal.” Couzens, 854 F.3d at 513. Moreover, decisions of both the Seventh Circuit

and Fifth Circuit have stated that the fraudulent joinder doctrine applies to cases in which an in-

state defendant had been improperly joined to defeat removal. In Schwartz v. State Farm Mut.

Auto Ins. Co., 174 F.3d 875 (7th Cir.1999), the Seventh Circuit stated that a plaintiff “may not

join an in-state defendant solely for the purpose of defeating federal diversity jurisdiction.” Id. at

878. “Such joinder is considered fraudulent, and is therefore disregarded, if … there exists no

‘reasonable possibility that a state court would rule against the [in-state] defendant.’” Id.



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(quoting Poulos, 959 F.2d at 73 (bracketed text in Schwartz)). Similarly, in Salazar v. Allstate

Texas Lloyd’s, Inc., 455 F.3d 571 (5th Cir. 2006), the Fifth Circuit stated that “under the

fraudulent joinder doctrine, federal removal jurisdiction premised on diversity cannot be defeated

by the presence of an improperly-joined nondiverse and/or in-state defendant.” Id. at 574.

       22.     The applicability of the fraudulent joinder doctrine to cases involving in-state

defendants was again discussed by the Seventh Circuit in Morris v. Nuzzo, 718 F.3d 660 (7th Cir.

2013). However, Morris did not decide whether the forum defendant rule barred removal in that

case. Instead, the Morris court held that the District Court “erred in its determination” that the

in-state defendant “was fraudulently joined,” id. at 663, stating that the court was “convinced”

that the defendant “was not fraudulently joined.” Id. at 671.

       23.     Even though the Seventh Circuit did not decide Morris on the basis of the forum

defendant rule, the court did lay out a number of “policy factors” the court deemed to be relevant

in considering whether to apply the fraudulent joinder doctrine to disregard the presence of an in-

state defendant. Id. at 668. These factors included “the plaintiff’s right to select the forum,” “the

general interest in confining federal jurisdiction to its appropriate limits,” “the defendant’s

statutory right of removal,” and the “interest in guarding the removal right against abusive

pleading practices.” Id.

       24.     These same factors were subsequently further explained and applied in the

Northern District’s decision in Bahalim. 2017 WL 118418, at *3-4. “After weighing all the

Morris factors,” the court determined that the fraudulent joinder doctrine should be applied in

that case involving a forum defendant. Id. at *4.

       25.     The same result follows from an application of the Morris factors to this case.

Plaintiffs’ Choice of Forum



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       26.     Although courts ordinarily will defer to plaintiff’s choice of forum, the

justification for such deference is “less compelling” when plaintiffs have “improperly joined a

forum defendant” in order to defeat federal jurisdiction. Bahalim, 2017 WL 118418, at *3. This

is because “[a]lthough a plaintiff is generally free to choose its own forum, a plaintiff ‘may not

join an in-state defendant solely for the purpose of defeating federal diversity jurisdiction.’”

Midland Mgmt. Co. v. Am. Alternative Ins. Corp., 132 F. Supp. 3d 1014, 1021 (N.D. Ill. 2015)

(quoting Schwartz, 174 F.3d at 878).

       27.     Moreover, as in the Bahalim case, “deference to Plaintiffs’ choice of forum is

further weakened by the fact that neither Plaintiff is an Illinois citizen…” Bahalim, 2017 WL

118418, at *3. As the Seventh Circuit stated in Morris, courts “do not give automatic deference

to a plaintiff’s choice of state forum simply because the plaintiff has filed suit outside of his or

her home state.” Morris, 718 F.3d at 669. Here, Plaintiffs are both citizens of California. This is

another reason why the Court should give “less deference to Plaintiffs’ choice of forum under the

facts of this case.” Bahalim, 2017 WL 118418, at *3.

General Interest in Confining Federal Jurisdiction to Appropriate Limits

       28.     In Morris, the Seventh Circuit indicated that one of the factors that can weigh

against the application of the fraudulent joinder doctrine is “the general interest in confining

federal jurisdiction to its appropriate limits.” Morris, 718 F. 3d at 668.

       29.     Here, however, this factor weighs in favor of removal as opposed to against it.

First, as the Seventh Circuit has repeatedly emphasized, the forum defendant rule itself is not

jurisdictional. Hurley, 222 F.3d at 380. See also Thornton v. M7 Aerospace LP, 796 F.3d 757,

764 (7th Cir. 2015) (same); Morris, 718 F. 3d at 665 (same). Therefore, its application in




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circumstances where the in-state defendant has been fraudulently joined cannot be necessary in

order to confine federal jurisdiction to its appropriate limits.

       30.     Second, as the court in Bahalim recognized, the language of the removal statute

embodying the forum defendant rule itself supports removal when an in-state defendant has been

fraudulently joined. See Bahalim, 2017 WL 118418, at *3 (citing 28 U.S.C. § 1441(b)(2)).

Section 1441(b)(2) provides:

       A civil action otherwise removable solely on the basis of the jurisdiction under section
       1332(a) of this title may not be removed if any of the parties in interest properly joined
       and served as defendants is a citizen of the State in which such action is brought.

28 U.S.C. § 1441(b)(2) (emphasis added).

       31.     Accordingly, the Bahalim court found that, “by its own terms, the forum

defendant rule precludes removal only when there is a ‘properly joined and served’ resident

defendant.” Bahalim, 2017 WL 118418, at *3. Based on the statutory language, the court in

Bahalim joined other courts in holding “that a fraudulently joined forum defendant is an

improperly joined defendant.” Id. See, e.g., Lozano v. CSM Bakery Prod. NA, Inc., 2016 WL

5746339, at *3 (C.D. Cal. Sept. 30, 2016) (“the ‘properly joined and served’ language, added to

§ 1441(b) in 1948, has widely been interpreted as reflecting Congressional intent to prevent the

fraudulent joinder of forum defendants in order to avoid removal.”).

Defendant’s Statutory Right to Removal and Need to Guard Against Abusive Pleading Tactics

       32.     In Morris, the Seventh Circuit warned that “a plaintiff could potentially use the

forum defendant rule as a ‘device’ to defeat removal where an out-of-state defendant would

otherwise have that right.” Morris, 718 F.3d at 670; See also Bahalim, 2017 WL 118418, at *4.

Similarly, the United States Supreme Court has made clear that “Federal courts should not

sanction devices intended to prevent the removal to a Federal court where one has that right.”



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Wecker v. Nat’l Enameling & Stamping Co., 204 U.S. 176, 186 (1907). Apollo has that right.

See also Mississippi ex rel. Hood v. AU Optronics Corp., 134 S. Ct. 736, 745 (2014) (“We have

interpreted the diversity jurisdiction statute to require courts in certain contexts to look behind

the pleadings to ensure that parties are not improperly creating or destroying diversity

jurisdiction.”).

         33.       Given Defendant AbbVie’s complete lack of involvement with the LAP-BAND®

device at any time, see Point II.B, supra, Plaintiffs have no “reasonable possibility of success”

against AbbVie. Poulos, 959 F.2d at 73. Instead, Plaintiffs have added a party against whom

they cannot “establish a cause of action,” id. at 73 – AbbVie – as a device to thwart Apollo’s

statutory right of removal to federal court. Bahalim, 2017 WL 118418, at *4.

         34.       It is particularly clear that AbbVie has been named merely as a device to defeat

removal given that the Circuit Court in which Plaintiffs have chosen to file – the Third Judicial

Circuit in Madison County – lacks any connection whatsoever with AbbVie, the Plaintiffs,

Defendant Apollo, or any of the facts alleged in the lawsuit. On the contrary, as Plaintiffs

themselves allege, AbbVie has its principal place of business in North Chicago, see Exhibit A,

Complaint at ¶ 5 – at the opposite end of the state from Madison County.2

         35.       Indeed, Plaintiffs’ counsel in this case has recently filed several other LAP-

BAND® actions in Madison County – naming Apollo and Allergan USA, Inc., but not AbbVie –




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  Given the lack of any connection between the State of Illinois and any of the parties other than the fraudulently
joined AbbVie, Apollo expressly reserves its right to move to dismiss the case under Rule 12(b) for lack of personal
jurisdiction, or in the alternative, to transfer the action to a more appropriate venue such as Delaware, Texas, or
California under 28 U.S.C. §1404.

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on behalf of plaintiffs residing in Texas, Montana, Nevada, Georgia, Alabama, Delaware,

Tennessee, and Kentucky, none of whose cases had any connection with the forum.3

         36.     Joining a defendant against which there is no legal or factual basis for recovery in

an attempt to defeat federal jurisdiction represents precisely the kind of “abusive pleading

practices,” Morris, 718 F.3d at 668; Bahalim, 2017 WL 118418, at *4, that require application of

the fraudulent joinder doctrine in order to protect Defendants’ “right of removal.” Morris, 718

F.3d at 669 (emphasis in original). As the court in the Yellen case emphasized, “a court cannot

permit a plaintiff to join a straw-man defendant solely to deprive removal-eligible defendants of

a federal forum to which they are otherwise entitled.” Yellen, 832 F.Supp.2d at 503.

         37.     After weighing all the Morris factors, including Plaintiffs’ choice of forum, the

applicable limits of federal jurisdiction, and Defendants’ statutory right of removal, it is clear

that Plaintiffs have named AbbVie as a device to improperly avoid removal to federal court. See

Bahalim, 2017 WL 118418, at *4.

         D.      The Amount in Controversy Exceeds $75,000

         38.     It is clear from the face of the Complaint that the amount in controversy exceeds

$75,000, exclusive of interest and costs.

         39.     Plaintiffs allege that Ms. Beardsley’s LAP-BAND® had to be surgically removed

on an emergency basis after the LAP-BAND® catheter had wrapped around Ms. Beardsley’s

small intestines causing a bowel obstruction. Plaintiffs also allege that the LAP-BAND® had




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  The LAP-BAND cases filed in Madison County by current Plaintiffs’ counsel that do not name AbbVie are:
Kayter v. Allergan USA, Inc. and Apollo Endosurgery US, Inc., Case No. 2020L 000038; Eastman, et al. v. Allergan
USA, Inc. and Apollo Endosurgery US, Inc., Case No. 2020L 000232; and Boswell et al. v. Allergan USA, Inc. and
Apollo Endosurgery US, Inc., Case No. 2020L 000503. Plaintiffs’ counsel voluntarily dismissed each of those
lawsuits within days of filing them. Allergan USA, Inc. is incorporated in Delaware with its principal place of
business in New Jersey, and therefore is not a citizen of Illinois.

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eroded into Ms. Beardsley’s stomach, causing sepsis, stomach perforation, and necrosis, and that

Ms. Beardsley died of her injuries on December 28, 2018. See Exhibit A, Complaint, ¶ 1.

       40.     Plaintiffs further allege that Ms. Kipnis’ LAP-BAND® eroded into her stomach,

causing inflammation of her liver and stomach, necessitating surgery to remove the medical

device. See Exhibit A, Complaint at ¶ 3.

       41.     Plaintiffs also allege that Mr. Beardsley, as next of kin to Ms. Beardsley,

“suffered great losses of a personal and pecuniary nature, including loss of companionship and

society of the decedent, as well as grief, sorrow, and mental suffering.” See Exhibit A,

Complaint at ¶ 315.

       42.     In their Prayer for Relief, Plaintiffs request, among other items of damages,

compensatory damages for “past, present, and future damages, including, but not limited to, great

pain and suffering for severe and permanent personal injuries sustained by Plaintiff and

Decedent, health and medical care costs” and “all ascertainable economic and non-economic

damages,” “Punitive and Exemplary damages,” and “attorney fees under the Illinois Consumer

Fraud Act.” See Exhibit A, Complaint at pages 92-93.

       43.     These alleged injuries are similar to others that have been found to satisfy the amount in

controversy. See Andrews v. E.I. DuPont De Nemours & Co., 447 F.3d 510 (7th Cir. 2006)

(finding the jurisdictional amount requirement met where plaintiff alleged severe and permanent

injuries, pain and suffering, and medical expenses). See also Gebbia v. Wal-Mart Stores, 233

F.3d 880, 888 (5th Cir. 2000) (alleged damages in a slip and fall case for “medical expenses,

physical pain and suffering, mental anguish and suffering, loss of enjoyment of life, loss of

wages and earning capacity, and permanent disability and disfigurement” met the jurisdictional

amount).


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III.    REMOVAL IS OTHERWISE PROPER

        44.     Plaintiffs commenced this action on October 1, 2020. AbbVie was served on

October 2, 2020, and Apollo was served on October 5, 2020. (See Exhibit B) Therefore, this

removal is timely pursuant to 28 U.S.C. § 1446(b)(2).

        45.     Removal to the Southern District of Illinois, East St. Louis Division, is proper under 28

U.S.C. § 1446(a) because the Circuit Court for the Third Judicial Circuit for Madison County,

State of Illinois, is within the East St. Louis Division.

        46.     Written notice of the filing of the Notice of Removal will be promptly served on

Plaintiffs’ counsel, and a copy will be promptly filed with the Clerk of the Circuit Court for the Third

Judicial Circuit for Madison County, State of Illinois pursuant to 28 U.S.C. § 1446(d).

        47.     By filing this Notice of Removal, Defendants do not waive, expressly or implicitly, its

right to assert any defense that it could have asserted in the State Court Action.

        WHEREFORE, Defendants remove this case to the East St. Louis Division of the United

States District Court for the Southern District of Illinois, from the Circuit Court for the Third Judicial

Circuit for Madison County, State of Illinois.

        Dated: November 2, 2020                           Respectfully submitted,

                                                          BRYAN CAVE LEIGHTON PAISNER LLP

                                                    By: /s/ Dan H. Ball
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                                                          James Emanuel, Jr. #6325389
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                                                          James C. Suozzo
                                                          Robert McGuirl
                                                          Robert Goodman
                                                          (to be admitted Pro Hac Vice)


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                                                       robert.goodman@rjmlaw.org

                                                       Attorneys for Defendants

                                   CERTIFICATE OF SERVICE

        I hereby certify that on this 2nd day of November, 2020, the foregoing was filed and served via
U.S. mail first-class postage prepaid and pursuant to the Court’s ECF system, including service upon the
following counsel of record:

       Christopher W. Dysart
       The Dysart Law Firm, P.C.
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       Chesterfield, MO 63017

       Counsel for Plaintiff


                               Dan H. Ball




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